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             ORAL ARGUMENT NOT YET SCHEDULED
                                No. 21-5096

                UNITED STATES COURT OF APPEALS
                     FOR THE D.C. CIRCUIT

                 STATE OF ILLINOIS and STATE OF NEVADA,
                                           Plaintiffs-Appellants,
                                      v.
 DAVID FERRIERO, in his official capacity as Archivist of the United States,
                                           Defendant-Appellee,
       STATE OF ALABAMA, STATE OF LOUISIANA, STATE OF NEBRASKA,
           STATE OF SOUTH DAKOTA, and STATE OF TENNESSEE,
                                Intervenors for Defendant – Appellees.

              On Appeal from the U.S. District Court for the
                District of Columbia, No. 1:20-cv-242-RC

               BRIEF FOR INTERVENORS-APPELLEES

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    CERTIFICATE AS TO PARTIES, RULINGS & RELATED CASES
      Parties and Amici. All parties, intervenors, and amici appearing be-

fore the district court and this Court are listed in appellants’ and defendant-

appellee’s briefs.

      Ruling Under Review. References to the ruling at issue appear in ap-

pellants’ brief.

      Related Cases. This case has not been before this Court or any other

(besides the district court). Counsel is aware of no related cases, as defined

by Circuit Rule 28(a)(1)(C), currently pending in this Court or any other.




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                              INTRODUCTION
      Amending the Constitution is hard. Absent a convention, amendments

must be proposed by two-thirds of Congress and ratified by three-fourths of

the States. U.S. Const. art. V. And the ratifications must occur within a “rea-

sonable time” after the proposal. Dillon v. Gloss, 256 U.S. 368, 375 (1921). This

difficult process ensures that changes to our founding charter are not made

unless they reflect “the will of the people in all sections at relatively the same

period.” Id.

      The Equal Rights Amendment failed to clear this bar decades ago. Af-

ter two-thirds of Congress proposed the ERA in 1972, only 35 States (of the

necessary 38) ratified it within the seven-year deadline. And of those 35, five

rescinded their ratifications before the deadline expired. Everyone back

then—commentators, activists, Congress, and even the Supreme Court—un-

derstood that the 1972 ERA had failed. Congress never proposed another

ERA to the States.

      The ERA’s failure, however, does not mean that women’s equality was

never enshrined in our Constitution. In a series of cases, the Supreme Court

held that the Equal Protection Clause already prohibits sex discrimination.

E.g., Califano v. Goldfarb, 430 U.S. 199, 206-07 (1977). Getting the Court to that

point required a sustained effort by civil-rights leaders like Ruth Bader Gins-

burg. See generally Ginsburg & Tyler, Justice, Justice Thou Shalt Pursue (2021).



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Plaintiffs diminish their legacy by suggesting that, without the ERA, women

lack “equal treatment under the Constitution.” Br.2.

      Because the Constitution already guarantees women’s equality, Plain-

tiffs’ push to revive the ERA is about something else. It is an effort to change

the law—to remove the precedent’s existing limitations and to invalidate

laws that are currently constitutional. The Constitution does not require

public funding for abortion, for example, but activists have convinced state

courts that state ERAs do. Compare Harris v. McRae, 448 U.S. 297 (1980), with

N.M. Right to Choose/NARAL v. Johnson, 975 P.2d 841 (N.M. 1998). And while

sex-based classifications are currently subject to intermediate scrutiny, state

courts have interpreted ERAs to require more—an outcome that would jeop-

ardize many programs and spaces reserved exclusively for women. Compare

Clark v. Jeter, 486 U.S. 456, 461 (1988), with Att’y Gen. v. Mass. Interscholastic

Athletic Ass’n, Inc., 393 N.E.2d 284 (Mass. 1979).

      Activists are candid about their plans to use a federal ERA to overhaul

the law on abortion, gender identity, religious liberty, and more. See, e.g., The

Equal Rights Amendment and Abortion, NRLC, bit.ly/3CalKAW; The Equal

Rights Amendment, USCCB (Jan. 31, 2020), bit.ly/3ad2VhF. People of good

faith can disagree about whether removing health and safety regulations on

abortion and undermining the bases for women’s prisons, restrooms, and

sports truly advance women’s rights. See Linton, State Equal Rights Amend-


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ments, 70 Temp. L. Rev. 907, 940-41 (1997) (documenting that most cases filed

under state ERAs involve male litigants trying to take away benefits for

women). Intervenors respectfully think otherwise.

      These results are not supported by most Americans either, let alone

supermajorities of Congress and the States. See, e.g., Saletan, Abortion Fund-

ing Isn’t as Popular as Democrats Think, Slate (June 12, 2019), bit.ly/36UyDUh

(“In every poll, a plurality of Americans opposes public funding of abor-

tions. In every poll but one, that plurality is a majority.”); McCarthy, Mixed

Views Among Americans on Transgender Issues, Gallup (May 26, 2021), bit.ly/

35Grpm0 (“A majority of Americans (62%) say trans athletes should only be

allowed to play on sports teams that correspond with their birth gender”).

This democratic reality explains why Plaintiffs are trying to resuscitate an

expired ERA from 1972, rather than convincing the country to approve a

new one. In other words, Plaintiffs are suing precisely because the ERA cur-

rently lacks the supermajority support that Article V requires. That should

tell the Court all it needs to know.

      Plaintiffs’ assertion that the ERA has already been ratified just earned

“four Pinocchios.” Kessler, The ERA and the U.S. Archivist: Anatomy of a False

Claim, Wash. Post (Feb. 9, 2022), wapo.st/3HvPRE0. The theory requires an

“interpretive triple bank shot.” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1626

(2018). It requires courts to ignore the ERA’s ratification deadline—even


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though a unanimous Supreme Court held that these deadlines are valid and

enforceable. Dillon, 256 U.S. at 375-76. It requires courts to hold that amend-

ments need not be ratified within a “reasonable time”—even though the

same unanimous Court held that they must. Id. at 375. And it requires courts

to hold that the Constitution forbids States from timely rescinding their rat-

ifications—even though the only court to consider that question held other-

wise. Idaho v. Freeman, 529 F. Supp. 1107, 1148-49 (D. Idaho 1981), vacated due

to subsequent mootness, 459 U.S. 809 (1982).

      This case is a policy outcome in search of a legal theory. Hence why

most of Plaintiffs’ amici simply register their support for the ERA, without

making any argument for why the 1972 proposal has been validly ratified (the

actual issue in this case). E.g., Business-Br.; ERA-Coalition-Br.; Mich.-Br.;

Mayors-Br.; Gen.-Ratify-Br.; Equality-Now-Br. Courts cannot indulge these

“naked policy appeals.” Bostock v. Clayton Cty., 140 S. Ct. 1731, 1753 (2020).

As one of the ERA’s foremost proponents explained before she passed, the

amendment fell “short of ratification” and must be “put back in the political

hopper, starting over again, collecting the necessary number of States.” Jus-

tice Ginsburg to Address New Georgetown Law Students, Georgetown Law

(Sept. 12, 2019), bit.ly/3bbokcd (Georgetown Address).




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      The district court dismissed Plaintiffs’ case for lack of standing and

lack of merit. It was right about the latter. For that reason alone, this Court

should affirm the district court’s judgment.

            STATUTES & CONSTITUTIONAL PROVISIONS
      All applicable statutes and constitutional provisions are in Plaintiffs’

brief, with one exception. “U.S. Const. amend. XXVIII” does not exist. Br.4.

The quoted language comes from H.J. Res. 208 (1972), a proposed amend-

ment that is reproduced at JA224.

                          STATEMENT OF CASE
      Congress proposed the ERA to the States in 1972. The proposing reso-

lution complied with Article V: It was passed by “two-thirds of each House.”

It told States to ratify through “legislatures,” rather than conventions. And

it required ratification “within seven years.” JA117. That seven-year dead-

line tracked the seven-year deadlines that Congress put in the 18th, 20th,

21st, 22nd, 23rd, 24th, 25th, and 26th Amendments, as well as a failed

amendment concerning D.C. See JA340 & n.12; JA118-19.

      The ERA’s deadline was crucial. Without it, the amendment would not

have secured the necessary support. The ERA’s proponents opposed includ-

ing a deadline. See 118 Cong. Rec. 9551-52 (1972) (Sen. Hartke); 117 Cong.

Rec. 35,814 (1971) (Rep. Griffiths); Ginsburg, Ratification of the Equal Rights

Amendment, 57 Tex. L. Rev. 919, 921 (1979) (Ginsburg); Witter, Extending Rat-

ification Time for the Equal Rights Amendment, 4 Women’s Rts. L. Rep. 209, 216-

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17 (1978) (Witter). But “several influential Members of both Houses objected

to its absence.” H.R. Rep. 95-1405, at 4 (1978). They worried that the ERA

“could roam around State legislatures for 50 years.” 116 Cong. Rec. 28,012

(1970) (Rep. Celler). And they warned that allowing it to “float around in

space” was “very unwise.” Id. at 36,302 (Sen. Ervin).

      In fact, when the House passed a version of the ERA without the

seven-year deadline, the measure died. See Witter 215-16. The bill was rein-

troduced in the next Congress, with the seven-year deadline included “to

gain united support.” Hatch, The Equal Rights Amendment Extension, 2 Harv.

J.L. & Pub. Pol’y 19, 35 n.70 (1979) (citing Hearings on H.R.J. Res. 208 Before

the House Comm. on the Judiciary, 92d Cong., 1st Sess. 41 (1971) (Rep. Griffiths)

(House Extension Hearings)); see also 117 Cong. Rec. 35,814 (Rep Griffiths: ex-

plaining that the deadline’s absence was “one of the objections last year” and

that its inclusion should “weed out” opposition). This version of the ERA,

with the seven-year deadline included, finally garnered the support of two-

thirds of Congress—where all earlier versions had failed. JA80-82. Notably,

the seven-year ratification deadline was quoted or referenced by 32 States in

their ratification documents. JA343-44; JA232-33.

      As the ERA’s deadline approached, it was clear that the amendment

would not be ratified in time. Three-fourths of 50 is 38, so the amendment

could not be ratified if at least 13 States abstained. As of March 1979, 15 States


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had not ratified the ERA, only 35 had ever ratified the ERA, and five had

rescinded their ratifications. JA237. The rescinding States were Nebraska

(1973), Tennessee (1974), Idaho (1977), Kentucky (1978), and South Dakota

(1979). JA237. Their rescissions were delivered to the Archivist’s predeces-

sor, and the Archivist has acknowledged receipt. See JA245; JA237. In the

Freeman case, Idaho sued the Archivist’s predecessor for declaratory and in-

junctive relief, raising several issues concerning the ERA. 529 F. Supp. at

1111. The Freeman court declared, among other things, that Idaho’s rescission

was valid. Id. at 1150.

      To buy the ERA more time, Congress passed a resolution purporting

to extend the ratification deadline. In the legislative debates, no one argued

that an extension was unnecessary because the original deadline was invalid

or nonbinding. To the contrary, then-Professor Ginsburg compared the

deadline to a “statute of limitations” and warned that the ERA would “die”

if this “procedural time bar … ran out.” Hearings on S.J. Res. 134 Before the

Senate Comm. on the Judiciary, 95th Cong., 2d Sess. 262-63 (1978). Congress

thus purported to extend the ERA’s deadline from 1979 to 1982, though its

resolution was approved by bare majorities rather than two-thirds of each

House. JA315. The Freeman court held that the extension was unconstitu-

tional. 529 F. Supp. at 1153. But its legality was ultimately irrelevant because

no additional States ratified the ERA between 1979 and 1982. JA315.


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      When the extended deadline passed without additional ratifiers, eve-

ryone assumed that the 1972 proposal was dead. E.g., JA125-26; JA263-76;

JA282-83; JA308. The Supreme Court—which had granted certiorari before

judgment in Freeman—dismissed the case as moot. Carmen v. Idaho, 459 U.S.

809 (1982). It cited the Government’s memorandum on mootness, where the

Government explained that the ERA had “failed of adoption no matter what

the resolution of the legal issues presented here.” JA245.

      In the wake of Freeman, no ERA proponent suggested that the amend-

ment was only three States away from ratification—a point they had every

incentive to make, if they thought it was a serious possibility. Instead, they

focused their energies on convincing Congress to start the process over

again. E.g., JA278-80; JA284. Congress tried to propose the ERA again in

1983, but the proposal fell short of the two-thirds threshold. H.R.J. Res. 1,

98th Cong. (1983). Congressional support for the ERA has steadily decreased

ever since. See Johnson, 50-Year Support in U.S. House 1971-2021 by % of Vot-

ing Members (Mar. 18, 2021), bit.ly/3C9SbzE.

      The so-called “three-state strategy” did not emerge until the mid-90s.

See Mills, New Strategy Adopted to Revive ERA, Sac. Bee (Dec. 12, 1993). This

theory posits that, instead of starting over with a new ERA, the old ERA from

1972 can still be ratified. The most common version argues that, because the

ERA’s ratification deadline appears in the proposing clause rather than the


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text of the proposed amendment, Congress can remove it through legisla-

tion. E.g., JA294. (Congress has considered several such bills, but none

passed both houses of Congress. E.g., S.J. Res. 1, 117th Cong. (2021-22).) The

three-state strategy would then count every State that ever ratified the ERA.

That number is 35, since this theory assumes ratifications never expire and

cannot be rescinded. JA295. To get to 38, proponents of the three-state strat-

egy needed three more States to ratify the 1972 ERA. Nevada purported to

do that in 2017, Illinois in 2018, and Virginia in 2020. JA83-86.

      Shortly before Virginia completed the three-state strategy, some of In-

tervenors sued the Archivist in the Northern District of Alabama. Though

the Constitution does not give the executive an express role in the amend-

ment process, someone must collect the ratifications, ensure the constitu-

tional requirements are met, and certify and publish amendments. Since the

founding, that duty has been carried out by an executive-branch official.

JA312-13. Today, it’s the Archivist. 1 U.S.C. §106b. Like the plaintiffs in Free-

man, the Alabama plaintiffs sued him for injunctive and declaratory relief.

See Alabama v. Ferriero, Doc. 1, No. 7:19-cv-2032 (N.D. Ala. Dec. 16, 2019).

      The Alabama case did not progress far. The Archivist asked for the

Justice Department’s advice. JA303. The Office of Legal Counsel then issued

a formal opinion concluding that the ERA cannot be ratified unless it is “pro-

pose[d] … anew.” Ratification of the Equal Rights Amendment, 44 Op. OLC ___


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(slip op. 1) (Jan. 6, 2020) (2020 OLC). The Archivist agreed to abide by OLC’s

opinion and, should it ever change, to give the Alabama plaintiffs at least 45

days’ notice before certifying the ERA. See Doc. 23, No. 7:19-cv-2032 (N.D.

Ala. Feb. 27, 2020).

      Plaintiffs filed this case in early 2020. They, too, sued the Archivist. But

strangely, they argued that the Archivist has no real authority in the amend-

ment process. JA87. And they characterized their case as a mandamus action.

JA91-92. Intervenors were allowed to join the litigation as defendants, JA95,

and both they and the Archivist asked the district court to dismiss Plaintiffs’

case as a matter of law, JA317 n.1.

      The district court dismissed Plaintiffs’ case on two “alternative”

grounds. JA320. First, it agreed with the Archivist that Plaintiffs lack Article

III standing. Plaintiffs’ “own” complaint alleges that his decision to publish

and certify amendments “has no legal effect,” so his refusal “does not cause

them a concrete injury that could be remedied by ordering him to act.”

JA320. Second, the district court agreed with Intervenors that Plaintiffs’ rat-

ifications were ineffective because they came after the congressional dead-

line expired. (The Archivist also made this argument, but he simultaneously

argued—unsuccessfully—that the question was nonjusticiable. Doc. 29-1 at

13-14; JA326.) The district court did not reach Intervenors’ alternative




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arguments that the ERA had expired under the force of the Constitution and

that five States had validly rescinded their ratifications. JA335.

      After the district court’s opinion, Plaintiffs’ case has only grown

weaker. In March 2021, North Dakota passed a resolution declaring that its

prior ratification of the ERA “lapsed” with the seven-year deadline and

“should not be counted.” N.D. SCR 4010 (Mar. 24, 2021). Similar resolutions

are pending in other States that ratified the 1972 ERA. E.g., W.Va. 85th Leg.,

SCR44 (passed Senate Feb. 11, 2022). Despite a change in presidential admin-

istration, moreover, OLC did not rescind its 2020 opinion concluding that

Plaintiffs’ late ratifications were ineffective. It issued another opinion in 2022

that “acknowledges and does not modify” that conclusion. Press Statement in

Response to Media Inquiries About the Equal Rights Amendment, Nat’l Archives

(Feb. 24, 2022), bit.ly/3IB19bz; see Effect of 2020 OLC Opinion on Possible Con-

gressional Action Regarding Ratification of the Equal Rights Amendment, 46 Op.

OLC ___ (Jan. 26, 2022). Further, the lead plaintiff in this suit, Virginia, has

been voluntarily dismissed. Doc. #1936684. It no longer resists the district

court’s conclusion that its ratification was untimely and no longer asks to be

counted among the ratifying States. See Doc. #1935815 at 2.

                        SUMMARY OF ARGUMENT
      Plaintiffs’ case is flawed, but not procedurally. Plaintiffs sued the right

defendant: The Archivist is injuring them by nullifying their attempts to



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ratify the ERA. Plaintiffs raised justiciable questions: Courts have long adju-

dicated similar questions arising out of the amendment process. And Plain-

tiffs have a cause of action: They can sue the Archivist for injunctive and

declaratory relief (and their puzzling focus on mandamus is harmless).

      The problem with this case is not that courts have no business deciding

whether the ERA is our 28th Amendment. The problem is that the ERA ob-

viously failed forty years ago. The district court rightly held that “Plaintiffs’

ratifications came too late to count” because “Congress set deadlines for rat-

ifying the ERA that expired long ago.” JA311-12. To resolve the controversy

over the 1972 ERA once and for all, this Court should also hold that Plain-

tiffs’ ratifications were too late under the Constitution and were insufficient

given the rescissions by at least five other States. Because these conclusions

are all reasons for dismissing Plaintiffs’ complaint, the district court’s judg-

ment should be affirmed.

                                 ARGUMENT
      The district court dismissed Plaintiffs’ complaint under Rules 12(b)(1)

and 12(b)(6). Reviewing de novo, this Court should hold that no procedural

obstacle prevents the judiciary from deciding whether the ERA has been rat-

ified. But this Court should affirm because, for a variety of reasons, the ERA

has not been ratified.




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I.    This case should be decided on the merits.
      The Archivist argued below that this case should be dismissed on var-

ious procedural grounds. Those arguments are mostly wrong. Plaintiffs

have Article III standing. No issue in this case presents a political question.

And Plaintiffs’ decision to characterize this case as a mandamus action,

though puzzling, does not prevent this Court from reaching the merits.

      A.    Plaintiffs have standing.
      Plaintiffs are correct that, if a State ratifies an amendment and the Ar-

chivist refuses to count it, then the State suffers an Article III injury. In Cole-

man v. Miller, a lieutenant governor purported to cast the tie-breaking vote

in favor of a constitutional amendment, after the state legislature split 20-20.

307 U.S. 433, 436 (1939). The 20 dissenting legislators sued, arguing that their

“no” vote should have prevailed because Article V gives state executives no

role in the ratification process. Id. The Supreme Court held that the legisla-

tors had standing to raise this claim in federal court. Their interest in “main-

taining the effectiveness of their votes” was a “plain, direct, and adequate”

injury. Id. at 438. Still today, Coleman is good law for the proposition that

“‘legislators whose votes would have been sufficient to … enact[] a specific

legislative Act have standing to sue if that legislative action … does not go

into effect[].’” Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 576

U.S. 787, 803 (2015).



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      Plaintiffs suffered the Coleman injury. Under their view of the law, ma-

jorities of their legislatures successfully ratified the 1972 ERA. And under

their view of the law, the Archivist nullified those ratifications by illegally

refusing to count them. No case suggests that state legislatures and legisla-

tors can vindicate this injury but States themselves cannot. That result would

be particularly anomalous in the context of Article V, a provision that treats

the States as independent sovereigns and sets out an amendment process

where they act in their sovereign capacity. See Printz v. United States, 521 U.S.

898, 918-19 (1997); Alden v. Maine, 527 U.S. 706, 713 (1999). When the federal

government prevents a State from exercising this sovereign power, the State

suffers a sovereign injury. See Hawke v. Smith, 253 U.S. 221, 229 (1920) (“[R]at-

ification by a state of a constitutional amendment is not an act of legislation

… but the expression of the assent of the state to a proposed amendment.”

(emphasis added)).

      Though Plaintiffs agree they suffered this injury, Br.29-30, their overall

theory of standing is incoherent. On the one hand, they argue that the Archi-

vist is stopping them from “performing their role” and is preventing their

ratifications from being “given effect.” Br.20; see Br.23 (similar); Br.25 (simi-

lar); Br.27 (Archivist is “obstructing the resolutions passed by their legisla-

tures”); Br.29 (Archivist is “effectively ‘overrid[ing]’ Plaintiff-States’ legisla-

tures’ ratifications”); Br.30 n.17 (“Plaintiff-States’ ratifications are not being


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counted”). On the other hand, they deny that the Archivist’s actions are ”le-

gally significant” and describe his role as a mere “formality.” JA323; see

Br.26-27. Both cannot be true. If the Archivist’s actions have no legal signifi-

cance, then he cannot “obstruct,” “override,” or “nullify” Plaintiffs’ ratifica-

tions. Their role has been fully performed, and their ratifications are fully

valid. What the Archivist says, thinks, or writes about them is irrelevant to

this theory of injury—the only one that Plaintiffs press on appeal.

      Plaintiffs are nevertheless right that they have standing because they

are wrong that the Archivist plays no meaningful role. True, an amendment

is adopted when the 38th State ratifies it. But someone must collect the rati-

fication documents, ensure that Article V’s requirements have been met, and

formally pronounce that the amendment has been adopted. No single State

could perform that role. And Congress has not traditionally performed that

role. 2020 OLC 32. Instead, from the very beginning, that role has been per-

formed by the executive branch—first the Secretary of State, then the Gen-

eral Services Administrator, and now the Archivist. 2020 OLC 6 n.5.

      The Archivist’s role is significant. It is partly ministerial: The Archivist

cannot look behind States’ ratification documents, or refuse to certify an

amendment that satisfies the requirements of Article V. See U.S. ex rel. Widen-

mann v. Colby, 265 F. 998, 1000 (D.C. Cir. 1920). But his role is also partly

discretionary. Per 1 U.S.C. §106b, the Archivist cannot publish an


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amendment until he receives notice that it “has been adopted, according to

the provisions of the Constitution.” (Emphasis added.) This language has long

been interpreted to require the Archivist to “determine whether a proposed

amendment has in fact been adopted according to Article V's procedures be-

fore he publishes it.” JA337 (emphasis added; citing Congressional Pay

Amendment, 16 Op. OLC 85, 98-99 (1992) (1992 OLC)). Even if the statute

didn’t require it, the Archivist could not blindly publish an amendment that

did not follow Article V. He swears an oath to follow the Constitution. 5

U.S.C. §3331. And he has a constitutional duty to “‘take Care’” that the

amendment process is faithfully executed. United States v. Sitka, 666 F. Supp.

19, 22 (D. Conn. 1987) (quoting U.S. Const. art. II, §3, cl. 4).

      Contra the district court, the Archivist’s certification does have “legal

effect.” JA322. Given his statutory and constitutional duties, his certification

that an amendment has been validly ratified is generally considered “con-

clusive upon the courts.” Leser v. Garnett, 258 U.S. 130, 137 (1922).* A deter-

mination that binds courts and ends litigants’ ability to challenge a ratifica-

tion is hardly a “formality.” JA323. Accordingly, if the Archivist refuses to




      *
        Intervenors do not concede that, if the Archivist unilaterally certifies
the ERA, then his certification would bar Intervenors from challenging the
ERA in court. Among other reasons, the principle from Leser should not ap-
ply when States sue the Archivist before he certifies an amendment. Cf. United
States v. Thomas, 788 F.2d 1250, 1253-54 (7th Cir. 1986).

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certify an amendment that has been ratified, then ordering him to certify it

would provide the ratifying States meaningful relief.

      The Archivist is thus a proper defendant. The Freeman court found that

the plaintiffs had standing to sue his predecessor. 529 F. Supp. at 1118-19.

And here, the district court agreed that issues concerning the ratification pro-

cess are justiciable questions for the courts. See JA326. But the courts could

never decide these issues unless States have someone to sue. The Archivist

is the natural choice, given his role in administering the ratification process.

And he’s the only choice, as Plaintiffs note. Br.34. Plaintiffs should have been

able to proceed against him.

      One final point on standing. Plaintiffs suggest that, if they lack stand-

ing to sue, then Intervenors lacked standing to intervene. Br.35-36. Of course,

Intervenors did not need standing to intervene as defendants in an existing

case between Plaintiffs and the Archivist. See Va. House of Delegates v. Be-

thune-Hill, 139 S. Ct. 1945, 1952 (2019); Little Sisters of the Poor Saints Peter &

Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2379 n.6 (2020). But more funda-

mentally, Intervenors face injuries that Plaintiffs do not.

      Intervenors oppose the 1972 ERA. If it is added to the Constitution, then

the amendment will decrease their authority to legislate, cede more legisla-

tive authority to Congress, subject them to costly litigation, and jeopardize

their democratically enacted laws. See Doc. 23 at 11-14; Doc. 10 at 9-10. The


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ERA thus directly implicates Intervenors’ “[p]aramount” and “sovereign”

power to “enact and enforce” their laws. Cameron v. EMW Women’s Surgical

Ctr., 595 U.S. ___ (slip op. 8) (Mar. 3, 2022).

      Plaintiffs, who want to add the ERA to the Constitution, cannot claim

these injuries. If they like the ERA, nothing stops them from voluntarily com-

plying with it today. And they have no particularized interest in legislation

that Congress might pass in the future or in the constitutionality of other

States’ laws. Like other States, Plaintiffs can allege a sovereign injury if the

Archivist is unlawfully ignoring or counting their ratification votes. But that

injury is where the similarity between Plaintiffs and Intervenors ends.

      B.    No issue in this case is a political question.
      Some have insisted that the merits questions in this case are for Con-

gress, not the courts. The district court correctly rejected this argument for

one of the merits questions. This Court should reject it for all three.

      As then-Judge Stevens explained, the notion that legal disputes over

constitutional amendments are nonjusticiable “is not one which a [lower

court] is free to accept.” Dyer v. Blair, 390 F. Supp. 1291, 1300 (N.D. Ill. 1975).

The Supreme Court “has on several occasions decided questions arising un-

der article V, even in the face of ‘political question’ contentions.” Id. at 1300

& n.21. To quote then-Professor Ginsburg, the Supreme Court has “enter-

tained and resolved on the merits a variety of questions relating to the



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process of proposing and ratifying constitutional amendments.” Ginsburg

943; e.g., United States v. Sprague, 282 U.S. 716 (1931); Leser, 258 U.S. 130; Dil-

lon, 256 U.S. 368; The Nat’l Prohibition Cases, 253 U.S. 350 (1920); Hawke, 253

U.S. 221. In fact, one of the Supreme Court’s earliest decisions resolved a

question about the ratification process—and did so on the merits. Hol-

lingsworth v. Virginia, 3 U.S. (3 Dall.) 378 (1798).

      The questions in this case do not satisfy either prong of the political-

question doctrine. There’s no “‘textually demonstrable constitutional com-

mitment of the issue to a coordinate political department.’” Zivotofsky ex rel.

Zivotofsky v. Clinton, 566 U.S. 189, 195 (2012). The executive branch is not

mentioned in Article V. Congress is mentioned, but Plaintiffs and the Justice

Department agree that nothing “in the text of Article V, historical practice,

or other Supreme Court precedent” gives Congress the power “to determine

the validity of a constitutional amendment after the States have submitted

their ratifications.” 2020 OLC 32; accord Doc. 37 at 18-20. Granting “plenary

power to Congress to control the amendment process” would also “run[]

completely counter to the intentions of the founding fathers.” Freeman, 529

F. Supp. at 1126. Because Article V “split[s]” the amending power “between

Congress and the states,” “it is evident … that the framers did not intend

either of those two parties to be the final arbiter of the process”; rather, “the




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courts, as a neutral third party … [would] decide … questions raised under

article V.” Id. at 1135.

      Nor do the questions in this case lack “‘judicially discoverable and

manageable standards for resolving [them].’” Zivotofsky, 566 U.S. at 195.

Consider them in turn.

      Congressional Deadline: The question whether Congress can limit the

States’ time for ratification is not only justiciable—the Supreme Court has

already adjudicated it. Dillon held, squarely and unanimously, that Congress

can “fix a definite period for the ratification” of constitutional amendments.

256 U.S. at 375-76. To reach that conclusion, the Court examined the text,

structure, and history of the Constitution—reasoning that is right in the ju-

diciary’s wheelhouse. Here, too, the district court and the Government have

eloquently explained why Congress has the power to set binding ratification

deadlines. JA339-45; Doc. 29-1 at 24-31; 2020 OLC 12-24. “Recitation of [their]

arguments—which sound in familiar principles of constitutional interpreta-

tion—is enough to establish that this case does not ‘turn on standards that

defy judicial application.’” Zivotofsky, 566 U.S. at 201.

      Constitutional Deadline: Courts can similarly determine what consti-

tutes a “reasonable time” for ratifying constitutional amendments under Ar-

ticle V. As a general matter, courts have no trouble deciding whether an

amount of time is “reasonable”—a concept that is “ubiquitous in the law.”


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Nat’l Ass’n for Fixed Annuities v. Perez, 217 F. Supp. 3d 1, 41-42 (D.D.C. 2016);

e.g., 5 U.S.C. §555 (“reasonable time”); Cutler v. Hayes, 818 F.2d 879, 896 (D.C.

Cir. 1987) (“unreasonable delay”); 17A Am. Jur. 2d Contracts §57 (“[a]n offer

lapses after the expiration of a reasonable time”). If the Supreme Court can

determine that “more than 3 days but less than 10 days” is not a “substan-

tially lengthy” recess, NLRB v. Noel Canning, 573 U.S. 513, 527, 537-38 (2014),

then courts can determine what constitutes a “reasonable time” to ratify an

amendment.

      Coleman does not alter this conclusion. True, some Justices in Coleman

thought that, “in the absence of a limitation” by Congress in either “the pro-

posed amendment or in the resolution of submission,” courts cannot deter-

mine what constitutes a reasonable ratification period under Article V. 307

U.S. at 452-53. But Congress did “fix a reasonable time” for ratifying the ERA

“in the resolution of submission,” id. at 452, so Coleman’s reasoning does not

apply by its terms. In other words, even if this question is for Congress, Con-

gress has spoken here. Coleman also did not overrule Dillon, where a unani-

mous Court concluded that Congress’s seven-year deadline for the 18th

Amendment was reasonable. 256 U.S. at 376. The Court made that determi-

nation by looking to “the periods within which prior amendments were rat-

ified”—the kind of historical inquiry that is within the judiciary’s compe-

tence. Id. at 376; see, e.g., Noel Canning, 573 U.S. at 537-38.


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      Even in cases where Congress provides no guidance, Coleman’s discus-

sion of whether courts can determine what constitutes a “reasonable time”

under Article V was not an opinion of the Court. See Memo. from John M.

Harmon, Assistant Att’y Gen., OLC, DOJ, to Robert J. Lipshutz, Counsel to the

President 50 (Oct. 31, 1977) (1977 OLC) (“There was … no clear majority in

Coleman … for the position that courts could never review the question of

reasonableness.”). The two Justices in dissent thought that courts were per-

fectly capable of deciding what constitutes a “reasonable time” under Article

V, even when Congress is silent. See 307 U.S. at 470-73 (Butler, J., dissenting).

As for the other seven Justices, four would not have reached that question

because they thought the plaintiffs lacked standing. See id. at 460-70 (op. of

Frankfurter, J.). The remaining three reaffirmed Dillon but thought that

courts should not determine what constitutes a “reasonable time” under Ar-

ticle V when Congress is silent. See id. at 452-56. Coleman is far too “frac-

tured,” 2020 OLC 29, to resolve anything on this issue, let alone extend to a

case (like this one) where Congress has spoken.

      State Rescissions: Like Congress’s power to impose ratification dead-

lines, the States’ power to rescind ratifications is an ordinary, justiciable

question of constitutional law. It “demands careful examination of the tex-

tual, structural, and historical evidence put forward by the parties …. This

is what courts do.” Zivotofsky, 566 U.S. at 201. The Freeman court, for


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example, consulted these traditional sources to reach a well-informed con-

clusion about the constitutionality of state rescissions. See 529 F. Supp. at

1146-50. The Government and 17 state amici have also consulted this evi-

dence and drawn a firm (albeit incorrect) conclusion. See 1977 OLC 29-49;

NY-Br.28-34.

      The Court can resolve this question too. Whether States have the

power to rescind turns largely on the meaning of “the word ‘ratification’”—

a term in Article V that “must be interpreted with the kind of consistency

that is characteristic of judicial, as opposed to political, decision making.”

Dyer, 390 F. Supp. at 1303; Freeman, 529 F. Supp. at 1137. The States’ “power

to ratify a proposed amendment to the federal Constitution has its source in

the federal Constitution,” Hawke, 253 U.S. at 230, and the Supreme Court

“has consistently exercised the power to construe and delineate claims aris-

ing under express powers” and implied “powers alleged to derive from enu-

merated powers,” United States v. Nixon, 418 U.S. 683, 704 (1974).

      True, the lead opinion in Coleman contains a stray passage suggesting

that the validity of state rescissions is a political question: “We think … the

question of the efficacy of ratifications by state legislatures, in the light of

previous rejection or attempted withdrawal, should be regarded as a political

question … with the ultimate authority in the Congress in the exercise of its

control over the promulgation of the adoption of the amendment.” 307 U.S.


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at 450 (emphasis added). But the italicized language was “clearly … dicta.”

Freeman, 529 F. Supp. at 1142. The Coleman litigation arose because Kansas

purported to ratify the Child Labor Amendment after previously voting to

reject it. 307 U.S. at 435-36. No State tried to rescind its ratification of the

Child Labor Amendment, let alone Kansas, so “the effect of a rescission …

was not before the court.” Freeman, 529 F. Supp. at 1142. As the lead opinion

in Coleman explains, “[t]he precise question” that the Court attempted to de-

cide was whether a State could be “restrain[ed] … from certifying [its] rati-

fication” of an amendment “because of an earlier rejection.” 307 U.S. at 450.

      Nor is Coleman’s discussion of rescissions the kind of “considered

dicta” that binds this Court. See Freeman, 529 F. Supp. at 1142 (explaining that

Coleman’s drive-by discussion of rescissions is, at most, “persua[sive]” au-

thority). As explained, Coleman was a badly fractured opinion with no opin-

ion representing a majority on the political-question doctrine. “[D]icta from

a Supreme Court plurality opinion” is “non-precedential.” Sampson v. United

States, 832 F.3d 37, 45 (1st Cir. 2016); accord In re Aggrenox Antitrust Litig.,

2016 WL 4204478, at *6 (D. Conn. Aug. 9) (distinguishing “Marks-doctrine

dicta” from a “Marks-doctrine holding”); Patterson v. City of Toledo, 2012 WL

1458115, at *6 (N.D. Ohio Apr. 26) (explaining that “plurality dicta” that

“was not even applied by the plurality in that case … cannot be … [the]

law”).


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      Like the Freeman court, this Court must draw its own conclusion about

whether and how to decide the validity of state rescissions. And as far as

persuasive authority goes, all agree that Coleman’s suggestion that Congress

should resolve these questions through some kind of “promulgation” is

wildly unpersuasive. See JA329 n.8; Doc. 37 at 18-20; 2020 OLC 29-32; 1992

OLC 102-05. These questions, like other questions concerning the meaning

of Article V, have been and can be resolved by courts.

      C.    Mandamus does not change the merits.
      Plaintiffs characterize this case as a mandamus action. Mandamus re-

quires, foremost, a “‘clear and indisputable’” right to relief. In re Cheney, 406

F.3d 723, 729 (D.C. Cir. 2005) (en banc). The Archivist will argue that the

questions in this case are open or difficult, so this Court can affirm the denial

of mandamus without definitively answering them. This Court should reject

that invitation for two main reasons.

      First, mandamus is not qualified immunity. The clear-and-indisputa-

ble requirement, as the district court recognized, does not allow courts to

throw up their hands in the face of hard or open questions. JA335. Courts

“must interpret the underlying [law]” and determine whether the defendant

has a “clear and compelling duty under the [law] as interpreted.” Cheney, 406

F.3d at 729 (emphases added). In other words, mandamus requires courts to

resolve “the merits.” Id. Nothing prevents mandamus from being used to



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“review an issue of first impression” or “settle new and important prob-

lems.” Colonial Times, Inc. v. Gasch, 509 F.2d 517, 524 (D.C. Cir. 1975) (cleaned

up).

       Second, Plaintiffs do not even need a writ of mandamus. Their decision

to frame their case that way is both strange and unnecessary. The plaintiffs

in Freeman sought injunctive and declaratory relief against the Archivist’s

predecessor, not mandamus. 529 F. Supp. at 1154, 1111. That same relief is

available here. Given the Archivist’s role in the ratification process, supra I.A,

he has “some connection with the enforcement” of the governing rules, and

thus can be sued for equitable relief under Ex parte Young, 209 U.S. 123, 157

(1908); see Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 689-91 (1949)

(explaining that this implied equitable cause of action is available against

both state and federal officers). The Archivist’s decision not to count Plain-

tiffs’ ratifications is also “agency action” that can be reviewed under the

APA, 5 U.S.C. §702; see Doc. 29-1 at 31-32 (Government conceding that Plain-

tiffs could have brought this case under the APA).

       This Court thus should not rest its decision on the peculiarities of man-

damus. Plaintiffs’ complaint can be fairly read to seek traditional injunctive

and declaratory relief. See JA92-93. Even if it couldn’t, courts typically do not

fault plaintiffs for failing to plead the right cause of action. See Johnson v. City

of Shelby, 574 U.S. 10, 11 (2014); Williams v. Seniff, 342 F.3d 774, 792 (7th Cir.


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2003). A dismissal on that basis would serve little purpose, since the plaintiff

usually can amend the complaint or file a new case. Instead of resting on a

harmless foot fault, this Court should resolve this case once and for all by

rejecting Plaintiffs’ theory on the merits.

II.   The Equal Rights Amendment has not been ratified.
      The ERA proposed in 1972 was never ratified. To prove that it was,

Plaintiffs must convince this Court to ignore three things: Congress’s express

deadline, the Constitution’s implied deadline, and every state rescission.

This Court cannot ignore even one.

      Though the district court stopped after the first question, this Court

should resolve all three. Dismissals can be affirmed on alternative grounds;

and all three questions were briefed below, present pure questions of law,

and would be reviewed de novo anyway. United States ex rel. Yelverton v. Fed.

Ins. Co., 831 F.3d 585, 589 (D.C. Cir. 2016); e.g., Zivotofsky ex rel. Zivotofsky v.

Sec’y of State, 725 F.3d 197, 220 n.20 (D.C. Cir. 2013), aff’d, 576 U.S. 1. In a

mandamus case, moreover, all three questions are “‘jurisdictional.’” Lovitky

v. Trump, 949 F.3d 753, 759 (D.C. Cir. 2020).

      A remand would cause “unnecessary delay and waste of judicial re-

sources.” Yelverton, 831 F.3d at 589. The loser of this appeal will likely seek

further review in the Supreme Court, and the Supreme Court will benefit

from this Court’s full analysis. A decision on Intervenors’ alternative



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arguments also would provide finality on the status of the 1972 ERA. By

holding that the old proposal was never approved and cannot be revived,

this Court will make clear that the only path forward for the ERA is to “pro-

pose the amendment anew.” 2020 OLC 1.

      A.   The congressional deadline expired before 38 States ratified.
      All agree that the ERA was not ratified by 1979, when Congress’s

seven-year deadline expired. (Though Congress purported to extend the

deadline another three years, that extension is irrelevant because no addi-

tional States ratified by 1982.) Unless Plaintiffs can prove that the ERA’s

deadline is nonbinding, their untimely ratifications in 2017 and 2018 were

ineffective. They cannot prove that.

      Plaintiffs cannot argue that the congressional deadline is unconstitu-

tional. Cf. Br.51-53. They affirmatively waived this argument below. See Doc.

99 at 14-15 (stressing that they “do not make” this argument); JA336-38 (ad-

dressing Plaintiffs’ “two” arguments for ignoring the deadline, neither of

which was the deadline’s unconstitutionality).

      For good reason. In Dillon, a unanimous Court held that Congress “no

doubt” can “fix a definite period for the ratification” of constitutional

amendments. 256 U.S. at 375-76. This power is a “matter of detail” that Arti-

cle V gives Congress “as an incident of its power to designate the mode of

ratification.” Id. at 376. Dillon’s holding remains good law. In Sprague, the



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Supreme Court reaffirmed Dillon’s “statements with respect to the power of

Congress in proposing the mode of ratification.” 282 U.S. at 732. And in Cole-

man, the lead opinion described Dillon’s analysis as “cogent” and confirmed

that Dillon “held that the Congress … may fix a reasonable time for ratifica-

tion.” 307 U.S. at 452 (emphasis added). While four Justices “disapprov[ed]

of the conclusion arrived at in Dillon,” id. at 458 (Black, J., concurring), the

other five Justices did not. See Dyer, 390 F. Supp. at 1299-300; Prakash, Of

Synchronicity and Supreme Law, 132 Harv. L. Rev. 1220, 1277-78 (2019) (Pra-

kash); Ginsburg 943. Nor is this Court free to say that the Supreme Court’s

“more recent cases have, by implication, overruled [Dillon].” Agostini v. Fel-

ton, 521 U.S. 203, 237 (1997). Contra Br.58.

      A contrary conclusion would call into question almost every amend-

ment proposed by Congress in the last 100 years. 2020 OLC at 15-16; cf. Spra-

gue, 282 U.S. at 734 (giving “weight” to Congress’s prior practice when pro-

posing amendments). And it would fatally undermine Plaintiffs’ attempt to

revive the 1972 ERA. As explained, without the seven-year deadline, the

ERA would have been rejected by more than a third of Congress, and many

States would have refused to ratify it. Intervenors made these points below,

but Plaintiffs refused to engage. Compare Doc. 74 at 14-16, with Doc. 99 at 14-

15, and Doc. 112 at 4-5. They cannot do so for the first time in a reply brief on

appeal. Am. Wildlands v. Kempthorne, 530 F.3d 991, 1001 (D.C. Cir. 2008).


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      Instead of arguing that the seven-year deadline is unconstitutional,

Plaintiffs claim that it simply lacks the force of law. The deadline appears in

the proposing clause rather than the text of the proposed amendment. Plain-

tiffs claim that only the latter kind of deadline can constrain the States. Br.51.

      This argument sets Plaintiffs apart from other proponents of the three-

state strategy. Some argue that the seven-year deadline is unconstitutional.

E.g., NY-Br.7; Equal Means Equal v. Ferriero, 3 F.4th 24, 27 (1st Cir. 2021). Oth-

ers argue that, because the deadline appears only in the proposing clause,

Congress is free to remove it through legislation. E.g., JA295; Held et al., The

Equal Rights Amendment, 3 William & Mary J. of Women & L. 113, 126-31

(1997). But no proponents—until Plaintiffs in this case—argue that the dead-

line can be ignored even though Congress has the power to impose deadlines

and even though Congress hasn’t yet removed this deadline.

      Plaintiffs’ argument is wrong. It tries to analogize the “proposing

clauses” in joint resolutions proposing constitutional amendments to the

“prefatory clauses” in other laws. Br.59 n.29. But that analogy doesn’t hold

up.

      Proposed amendments are not “ordinary cases of legislation.” Hol-

lingsworth, 3 U.S. at 381 n.*. Their proposing clauses look nothing like the

prefatory clauses in ordinary statutes. Prefatory clauses explain the “pur-

pose” or “‘necessity’” of the operative statutory text. D.C. v. Heller, 554 U.S.


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570, 578 & n.3 (2008). But Congress has never put this kind of information in

proposing clauses. See Nat’l Prohibition Cases, 253 U.S. at 386. These clauses

instead use direct, mandatory, and legally operative language. See, e.g., H.J.

Res. 208 (declaring that the ERA “shall be valid … when ratified by the leg-

islatures of three-fourths of the several States within seven years”). For ex-

ample, Congress has always used the proposing clause to specify which

“mode” of ratification—legislature or convention—that the States must use.

2020 OLC 14-15 & n.15. Its choice of mode is indisputably mandatory on the

States. See Hawke, 253 U.S. at 227. Since Congress’s power to set ratification

deadlines comes from its power to specify the mode of ratification, Dillon,

256 U.S. at 376, deadlines in proposing clauses must be mandatory too.

JA335.

      Congress itself believes that the deadlines in proposing clauses are

binding on the States. (And Congress’s view is crucial because, again, Plain-

tiffs do not deny that Congress could impose a binding ratification deadline;

they argue only that Congress did not impose one here.) When Congress

started putting ratification deadlines in proposing clauses, rather than the

text of amendments themselves, no one in Congress thought that the dead-

lines would now be precatory. 2020 OLC 21. Congress thought the move was

purely aesthetic—that it would stop “‘cluttering up’ the Constitution with




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provisions that were useless immediately upon ratification.” JA340-41 (col-

lecting sources).

      When the seven-year deadline was added to the ERA’s proposing

clause, moreover, both proponents and opponents recognized that it was

mandatory. 2020 OLC 21-22; e.g., 118 Cong. Rec. 9552 (Sen. Hartke) (oppos-

ing a deadline because its expiration would mean “we must begin the entire

process once again.”). Congress also passed a controversial bill to extend the

ERA’s original deadline, and it is still considering controversial bills to re-

move it—measures that make little sense if the deadline isn’t binding to begin

with. It’s telling that, in a case with no shortage of amicus briefs, not a single

Member of Congress has filed a brief in support of Plaintiffs’ theory.

      Plaintiffs also understate the strangeness of their theory. In Plaintiffs’

world, a deadline is not binding unless it appears in the text of the proposed

amendment. Br.53. Such a deadline is binding not because Congress said so,

but by force of the Constitution alone. Br.54 & n.26. In other words, even

after the deadline expires, States can keep ratifying the amendment. Br.58-

59. And even if the 38th State ratifies after the deadline passed, the Archivist

still must certify the expired amendment and put it in the Constitution.

Br.42-45. The amendment then just sits there, forever entombed and never

in force, rendered inoperative by its own text. That’s a bizarre way to main-

tain a Constitution—so strange that, if the founders intended it, Plaintiffs


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should be able to cite at least one historical source that contemplates it. They

cite none. Cf. Loggins v. Thomas, 654 F.3d 1204, 1228 (11th Cir. 2011) (“the

Constitution does not require pointless procedures”); Pleasant Grove City v.

Summum, 555 U.S. 460, 473 (2009) (similar).

      The Supreme Court seems to agree that a deadline’s location makes no

difference. See JA341-43 (discussing cases). Take Dillon, for example. Plain-

tiffs are correct that the deadline there appeared in the text of the proposed

amendment, rather than the proposing clause. But if the Supreme Court

agreed with Plaintiffs’ theory, then its reasoning would have been different.

The Court described the deadline as appearing in “the congressional resolu-

tion proposing the amendment,” not the amendment’s text. 256 U.S. at 370-

71 (cleaned up). And it held that Congress had the power to set a deadline

“as an incident of its power to designate the mode of ratification,” id. at 376,

not that Congress can put deadlines in the text of amendments that become

effective by force of the Constitution. If the Supreme Court accepted Plaintiffs’

view of the law, it would not have engaged in a lengthy discussion of dead-

lines. It would have simply held that, unless Congress is trying to deprive a

State of its “equal suffrage in the Senate,” Article V places no limits on what

goes in the amendments that it proposes. U.S. Const. art. V; see Leser, 258 U.S.

at 136.




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      The Supreme Court’s vacatur in Freeman is also damning. After grant-

ing certiorari, the Court determined that the case had become “moot” once

the extended deadline expired. 459 U.S. at 809. Plaintiffs say the Court didn’t

explain why it thought the case was moot. Br.61. But the Court said it had

“consider[ed] the memorandum for the Administrator of General Services

suggesting mootness, filed July 9, 1982, and the responses thereto.” 459 U.S.

at 809. The Government’s memorandum—which apparently won the day—

argued that the case had become moot because, after the expiration of the

deadline, the ERA could no longer be ratified. JA245-46.

      More importantly, if Plaintiffs are right that the ERA’s ratification

deadline is not binding, then the Supreme Court was wrong to deem Freeman

moot. The Freeman plaintiffs sued the Archivist’s predecessor under a theory

of vote nullification—specifically, for illegally refusing to honor Idaho’s re-

scission—and won a declaration that Idaho’s rescission was valid. See 529 F.

Supp. at 1118-21, 1155. That dispute was still live, unless the thing for which

Idaho was trying to rescind its vote was permanently dead. That the ERA

was still short of the 38-State threshold would have been irrelevant to this

theory of injury; in Coleman, for example, the plaintiffs had standing even

though the amendment in question had been ratified by only five States and

rejected by 26. 307 U.S. at 436. The Supreme Court’s mootness conclusion in

Freeman thus made sense only if the Court was treating the ERA’s deadline


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as valid and binding. That assumption was safe, given the Court’s express

holding in Dillon and decades of prior congressional practice.

      B.    A constitutionally reasonable amount of time expired before
            38 States ratified.
      Even if Congress’s seven-year deadline were invalid or nonbinding,

the Constitution contains its own ratification deadline: a “reasonable time”

after the amendment’s proposal. Dillon, 256 U.S. at 375. Plaintiffs’ attempt to

ratify the ERA more than four decades after its proposal falls well outside

the zone of reasonableness.

      Under Article V, a constitutional amendment must be ratified within a

“reasonable time” after it is proposed. Id. That’s what a unanimous Supreme

Court held in Dillon v. Gloss. While Dillon acknowledged that Article V “con-

tains no express provision” limiting the time for ratification, the Court

deemed that omission “not … controlling” because constitutional rules can

also be “reasonably implied.” Id. at 373. One rule that can be reasonably “im-

pli[ed] from article 5,” the Court explained, is that amendments must be rat-

ified within a “reasonable time” after they are proposed. Id. at 374-75.

      The Court reached that conclusion for four reasons:

      1. The text of Article V treats the acts of proposal and ratification “not

… as unrelated acts, but as succeeding steps in a single endeavor.” Id. The

“natural inference” from this coupling is that proposal and ratification “are

not to be widely separated in time.” Id. at 375.


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      2. The text of Article V allows Congress to propose amendments “only

when there is deemed to be a necessity therefor.” Id. The “reasonable impli-

cation” of that language is that, once proposed, amendments “are to be con-

sidered and disposed of presently.” Id.

      3. By requiring a supermajority of “three-fourths of the states,” ratifi-

cation is meant to reflect “the expression of the approbation of the people.”

Id. Ratification must be “sufficiently contemporaneous” with proposal to

“reflect the will of the people in all sections at relatively the same period”—

something “ratification scattered through a long series of years would not

do.” Id.

      4. The opposite view would have “untenable” results. Id. It would al-

low proponents to combine votes from “the present” with totally unrelated

votes from “generations now largely forgotten.” Id. And it would mean that

“amendments proposed long ago—two in 1789, one in 1810 and one in

1861—are still pending.” Id. That latter amendment would allow States to

reinstitute slavery. See id. at 372 (discussing the Corwin Amendment).

      Dillon’s conclusion that Article V limits the time for ratification was not

dicta. True, the precise question in Dillon was whether the seven-year ratifi-

cation deadline that Congress put in the 18th Amendment was constitu-

tional. Id. at 370-71. And the Court held that Congress has the power to im-

pose such deadlines. Id. at 376. But the reason Congress has that power,


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according to the Court, is because the Constitution itself requires ratification

to occur within a reasonable time. See id. at 374-76. “When an opinion issues

for the Court, it is not only the result but also those portions of the opinion

necessary to that result by which [courts] are bound.” Seminole Tribe of Fla. v.

Florida, 517 U.S. 44, 67 (1996); accord Gabbs Expl. Co. v. Udall, 315 F.2d 37, 39

(D.C. Cir. 1963) (language “material to the decision” is not dicta). For that

reason, Dillon’s analysis of Article V’s limit on the time for ratification—

which “took up the vast majority of the Dillon opinion” and was “a necessary

building block for its ultimate conclusion”—binds this Court. Prakash 1281.

      Even if Dillon’s analysis were dicta, it was “carefully considered”

dicta—which binds this Court all the same. Mass. Lobstermen’s Ass’n v. Ross,

945 F.3d 535, 541 (D.C. Cir. 2019). As the Supreme Court has explained, “ar-

ticle 5 was carefully examined” in Dillon, and “[Dillon’s] statements” about

the meaning of Article V “were not idly or lightly made.” Sprague, 282 U.S.

at 732-33. The argument that Dillon’s discussion can be “dismiss[ed]” as dicta

thus “carries no weight” for “this ‘inferior Court,’” since “carefully consid-

ered language of the Supreme Court, even if technically dictum, generally

must be treated as authoritative.” Sierra Club v. EPA, 322 F.3d 718, 724 (D.C.

Cir. 2003) (cleaned up).

      Binding or not, this Court should follow Dillon’s interpretation of Ar-

ticle V because it is correct as an original matter. To quote then-Professor


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Ginsburg, “[i]mplicit in Article V is the requirement that ratification of a pro-

posed constitutional amendment occur within some reasonable time.” House

Extension Hearings 122. The Justice Department, too, once deemed this prin-

ciple “no longer open to question.” 1977 OLC 19. Though the text of Article

V does not spell out a particular timeframe for ratification, “the usual rule of

construction where time is not expressly prescribed” is that “duration for a

reasonable period is the term accepted by the law.” Trailmobile Co. v. Whirls,

331 U.S. 40, 54-55 (1947) (citing Dillon, 256 U.S. at 375).

      Indeed, the text of Article V expressly contemplates a reasonably con-

temporaneous ratification period. Article V requires Congress to “deem [an

amendment] necessary”—a judgment that can be made only in light of cur-

rent circumstances. See Prakash 1269. Article V also requires amendments to

be approved by a supermajority democratic vote: “two thirds of both

Houses” and “the Legislatures of three fourths” of the States. “One crucial

element of majority rule”—let alone supermajority rule—“is the require-

ment that those in favor of some … constitutional amendment … actually

constitute a majority at a given moment in time.” Prakash 1224. As Hamilton

put it, the Constitution rests on “the consent of the people,” The Federalist No.

22, so it can change only when the people are “united in the desire of a par-

ticular amendment,” The Federalist No. 85 (emphasis added). No such unity




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exists when different generations approve amendments in different circum-

stances over different decades. Prakash 1272.

      “Historical practice” further confirms that “the amendment process

must occur over a reasonable, and therefore limited, period.” Prakash 1274.

Until our most recent amendment, no amendment took longer than four

years to ratify. JA226. The average time for ratification was one year, eight

months, and seven days. JA226; see JA229-30.

      Accepting Plaintiffs’ view that Dillon is wrong would wreak havoc on

our system. Plaintiffs’ argument that every failed amendment is still pend-

ing before the States would reach even the Corwin Amendment—a despic-

able amendment that would forever enshrine slavery in the Constitution. 12

Stat. 251 (1861). Plaintiffs’ argument also means that the ratification process

can be stretched out over decades (or even centuries). That regime would

make it impossible to conduct the most basic task of constitutional interpre-

tation: divining an amendment’s “contemporaneous understanding” or

“original meaning.” Lynch v. Donnelly, 465 U.S. 668, 673 (1984); United States

v. Jones, 565 U.S. 400, 407 n.3 (2012). And it would allow an amendment to

be ratified by accretion even though, at any given time, a supermajority of

States oppose it. Prakash 1272.

      In response to all this, Plaintiffs hang their hats on the 27th Amend-

ment—an amendment that the Archivist deemed ratified in 1992, more than


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200 years after Congress proposed it. See JA90. It’s unclear what role the 27th

Amendment plays in their argument, practical or legal. Either way, Plain-

tiffs’ point fails.

       Practically speaking, this Court can hold that Plaintiffs’ ratifications

were too late without undermining the 27th Amendment. Unlike the ERA,

the Archivist has already certified the 27th Amendment as ratified. That dis-

tinction is practically important because, as explained, courts have generally

held that his certification is conclusive, especially when it happened decades

ago. E.g., Thomas, 788 F.2d at 1253. Also unlike the ERA, Congress did not

include any ratification deadline in the 27th Amendment. When determin-

ing what constitutes a “reasonable time” under Article V, courts could dis-

tinguish cases where two-thirds of Congress expressed a view—even if only

a precatory view—from cases where Congress was silent. Cf. Ginsburg 944-

45 & nn.159-60.

       Legally speaking, the 27th Amendment means nothing. No court has

ruled on the validity of its ratification. That issue was heavily disputed at the

time, e.g., 1789 Amendment Is Ratified but Now the Debate Begins, N.Y. Times

(May 8, 1992), nyti.ms/33QJeKB; Foley Drops His Opposition to Congress Pay

Raise Amendment, L.A. Times (May 15, 1992), bit.ly/33YqXem, and is heavily

disputed today, Prakash 1229 n.42 (collecting sources). Ohio’s attempt to rat-

ify the same amendment was controversial in 1873 given the “great … lapse


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of time” that had occurred, Dillon, 256 U.S. at 372 n.3, and the Supreme Court

deemed it “untenable” that the amendment was still before the States in

1921, id. at 375. Nor is the Archivist’s certification in the 1990s the sort of

“historical practice” that helps courts determine the meaning of the Consti-

tution. See Printz, 521 U.S. at 917-18 (explaining that examples from “the past

few decades” are too “recent” to be “probative … of a constitutional tradi-

tion that lends meaning to the text”).

      In all events, this Court must follow Dillon, a unanimous interpretation

of the Constitution by the Supreme Court—even if the 27th Amendment

suggests the political branches disagree with that decision. United States v.

Morrison, 529 U.S. 598, 616 n.7 (2000). The political branches have not been

consistent in their views either. Before the Justice Department described Dil-

lon’s interpretation of Article V as “dicta,” it insisted that Dillon’s interpreta-

tion was “no longer open to question.” Compare 1992 OLC 90, with 1977 OLC

19. And up until the 27th Amendment, Congress consistently acted as

though unratified amendments expire. Prakash 1274-79. The 27th Amend-

ment does not trump this much longer historical practice, let alone the hold-

ing of Dillon or the text of Article V. See Chiafalo v. Washington, 140 S. Ct. 2316,

2328 (2020) (“[Parties] cannot rest a claim of historical tradition on one [ex-

ample] in over 200 years.”).




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      Because Article V requires amendments to be ratified within a “rea-

sonable time,” Dillon, 256 U.S. at 375, Plaintiffs’ purported ratifications of the

ERA were ineffective. A reasonable ratification period for the ERA is proba-

bly seven years. Seven years is the period that Congress chose for the ERA,

and it’s the period that Congress chose for nearly every amendment pro-

posed in the last century. JA118.

      But wherever Article V draws the line exactly, the 45-year gap between

the ERA’s proposal and Plaintiffs’ ratifications is plainly unreasonable.

“[C]onsidering the periods within which prior amendments were ratified,”

Dillon, 256 U.S. at 376, the ERA’s ratification would have taken four decades

longer than any amendment ratified in our first 200 years. JA118. Plaintiffs

took far longer than the year it took Congress to debate and pass the 1972

proposal, and the three years it took the first 35 States to ratify. JA81-82;

JA237. During that yawning gap, the country grew by 100 million people,

had seven different Presidents, and saw near-complete turnover in its na-

tional and state “representatives.” Dillon, 256 U.S. at 375; see JA127-28. The

politics of the late 2010s are, to put it mildly, quite different from the politics

of the late 1970s. And more than half of Americans alive today were not alive

then. JA300. Article V does not allow “the present … generation” to reach

back in this manner and “supplement[]” the work of “representatives of gen-

erations now largely forgotten.” Dillon, 256 U.S. at 375.


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      In short, even if Congress could not set a time limit on ratification, the

States’ votes on the ERA were not “sufficiently contemporaneous … to re-

flect the will of the people in all sections at relatively the same period.” Id.

Article V does not allow an amendment to be ratified by a cluster of States,

lay dormant for nearly half a century, and then be resurrected by a small

minority of States. Because that is precisely what the Supreme Court held in

Dillon, this ground is perhaps the easiest basis for affirming the district court.

      C.    At least five States validly rescinded their ratifications.
      Even if Congress’s proposed amendments never expire, the ERA is still

several States short of 38. At least five States timely rescinded their ratifica-

tions. Those rescissions were effective. Freeman, 529 F. Supp. at 1146-50.

      While Article V does not literally use the word “rescind,” that power

is inherent in the States’ power to “ratif[y].” See Dillon, 256 U.S. at 373 (“That

[Article V] contains no express provision on the subject is not in itself con-

trolling; for … what is reasonably implied is as much a part of it as what is

expressed.”). Under our system of law, the “general rule” is that, until an

enactment acquires independent legal significance, it “is repealable by the

same authority that produced it.” Paulsen, A General Theory of Article V, 103

Yale L.J. 677, 725 (1993) (Paulsen). For example, the Constitution gives Sen-

ators the power to “Vote” on bills, art. I, §3, but no one thinks a Senator who

voted “yea” could not change her vote to “nay” before the voting officially



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ends. In the same way, state ratifications have “technical significance” under

Article V “at only one time—when three-fourths of the states have acted to

ratify.” Freeman, 529 F. Supp. at 1150. Until that three-fourths threshold is

reached, there is “nothing in the nature of … state ratification legislation that

creates vested legal interests”; each State “can repeal its contribution toward

the creation of a whole until the whole has been finally created.” Paulsen

726.

       Allowing timely rescissions also furthers the purpose of Article V.

“[T]he drafters of the Constitution considered it important” that constitu-

tional amendments “draw on that same power which is the source of the

original authority of the Constitution—‘the consent of the people.’” Freeman,

529 F. Supp. at 1148. That consent is missing when a State timely rescinds its

ratification. “To allow a situation where … the first act of a state is irrevoca-

ble … would permit an amendment to be ratified by a technicality … and

not because there is really a considered consensus supporting the amend-

ment.” Id. at 1149. Counting the rescission would “giv[e] a truer picture of

the people’s will as of the time.” Id. at 1148. And rejecting it would “remove

the state’s power to create a barrier to encroachment by the national govern-

ment.” Id. at 1146; cf. Br.23-25.

       Depriving the States of rescissions is even more inappropriate if, as

Plaintiffs contend, proposed constitutional amendments never expire and


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can be ratified by future generations over the course of centuries. See 2020

OLC 26 n.21. It is “strange to say that a proposed amendment never dies but,

‘Terminator’-like, lives on until it has completed its mission, no matter how

many times it appears to have been ‘killed’ by the states, and that only an

overtaking amendment (‘Terminator II’?) retracting the prior amendment

could stop the original proposal.” Paulsen 724. The Court should not read

the Constitution to require this bizarre one-way ratchet.

      Perhaps this textual evidence could be overcome by a strong historical

tradition of rejecting rescissions, but no such tradition exists. On balance, the

historical record supports the power’s existence. When debating the postwar

amendments, for example, Congressmen expressed “differences of opinion”

on the validity of rescissions. Cong. Globe, 40th Cong. 2d Sess. 878 (1868)

(Sen. Johnson). The House passed a bill that would have nullified rescissions,

but the Senate Judiciary Committee “reported it out adversely” and “the bill

died without further action.” Freeman, 529 F. Supp. at 1144.

      Throughout our history, moreover, States have exercised the rescission

power. For example, Amicus Maryland rescinded its prior ratification of the

Corwin Amendment. See Bush, Maryland Legislators Repeal Pro-Slavery Law,

WAMU (Apr. 11, 2014), bit.ly/3KeQLq9. Plaintiff Nevada has rescinded its

prior calls for a constitutional convention. Blackman, The Ratification of the

Equal Rights Amendment Could Lead to an Article V Convention for Proposing


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Amendments, Volokh Conspiracy (Feb. 11, 2020), bit.ly/3hFPw7j; see Nev. S.J.

Res. 10, 79th Sess. (2017). And Amici New Jersey and New York rescinded

their ratifications of the 14th and 15th Amendments, respectively. Freeman,

529 F. Supp. at 1143-44. Instead of dismissing these rescissions as illegal, the

political branches “dignified” them by “waiting and collecting additional

ratifications” until the rescinding States were no longer necessary to cross

the three-fourths threshold. Id. at 1149.

      Because rescissions are valid, the 1972 ERA is still short of the 38 votes

necessary for ratification. Five States rescinded their ratifications before the

ERA crossed the 38-State threshold, and even before the original seven-year

ratification deadline expired. If any one of those rescissions is valid, then the

ERA has not been ratified. Below, Plaintiffs suggested that Kentucky’s and

South Dakota’s rescissions might have state-law “irregularities.” JA131. But

they did not explain what those irregularities were, even though these legal

documents are matters of public record. They also identified no state-law

irregularities in the rescissions of Tennessee, Nebraska, or Idaho—any one

of which is sufficient to defeat their theory. And even if these rescissions

somehow all violated state law, the Archivist would have no authority to

reject them on that ground. Colby, 265 F. at 999-1000.

      More, at least under Plaintiffs’ theory, North Dakota’s recent resolu-

tion counts as a sixth “rescission.” NY-Br.28 n.4. No principled basis exists


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for honoring Plaintiffs’ late pronouncements but ignoring North Dakota’s.

As Justice Ginsburg put it, “[I]f you count a latecomer on the plus side, how

can you disregard states that said ‘we’ve changed our minds’?” Georgetown

Address. North Dakota’s action also drives home the major flaw with Plain-

tiffs’ case: Contemporaneity matters because words, views, and needs

change over time. Plaintiffs’ assumption that both they and North Dakota

voted to ratify the same thing is a fiction.

                               CONCLUSION
      The district court’s judgment, though not all its reasoning, should be

affirmed.

 Dated: March 4, 2022                   Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE
      This brief complies with this Court’s briefing order because it contains

10,944 words, excluding the parts that can be excluded. See Doc. #1913956.

This brief also complies with Rule 32(a)(5)-(6) because it is prepared in a pro-

portionally spaced face using Microsoft Word 2016 in 14-point Palatino font.

Dated: March 4, 2022                              s/ Cameron T. Norris




                        CERTIFICATE OF SERVICE
      I e-filed this brief, which will email everyone requiring service.

Dated: March 4, 2022                              s/ Cameron T. Norris




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